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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


   OYSTER OPTICS, LLC,

                  Plaintiff,
                                                              Civil Action No. 2:20-cv-00211-JRG
                  v.
                                                              JURY TRIAL DEMANDED
   CISCO SYSTEMS, INC.,

                  Defendants.


      JOINT MOTION TO STAY ALL DEADLINES AND NOTICE OF SETTLEMENT

          Plaintiff Oyster Optics, LLC and Defendant Cisco Systems, Inc. (collectively, the

   “Parties”) jointly notify the Court that all matters in controversy between the Parties have settled

   in principle and jointly move for entry of an Order staying the above-captioned case in its entirety.

   The Parties jointly request that the Court stay all proceedings in this matter until February 10,

   2022, when the parties intend to file a stipulation of dismissal with prejudice under Federal Rule

   of Civil Procedure 41(a)(1)(A)(ii).

          Respectfully submitted, this 11th day of January, 2022.


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                                   CERTIFICATE OF SERVICE

                  The undersigned hereby certifies that all counsel of record who are deemed to

   have consented to electronic service are being served with a copy of this document via electronic

   mail per Local Rule CV-5(a)(3) on January 11, 2022.


                                                         /s/ Andrea L. Fair
                                                         Andrea L. Fair

                                CERTIFICATE OF CONFERENCE

                  I certify that the parties have complied with the meet and confer requirements in

   Local Rule CV-7(h) and that this motion is filed jointly.


                                                         /s/ Andrea L. Fair
                                                         Andrea L. Fair




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